Case 4:18-cv-00247-ALM Document 60 Filed 07/19/18 Page 1 of 3 PageID #: 1209



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 JASON LEE VAN DYKE                      §
     Plaintiff                           §
                                         §
 v.                                      §            Case No. 4:18cv247
                                         §
 THOMAS CHRISTOPHER RETZLAFF §
 a/k/a Dean Anderson d/b/a BV Files, Via §
 View Files L.L.C., and ViaView Files    §
       Defendant                         §

           MOTION TO SET HEARING FOR PRELIMINARY INJUNCTION

       Plaintiff, Jason Lee Van Dyke, respectfully request that this Honorable Court enter a

 setting an oral hearing on the merits on his motion for preliminary injunction in the above-

 captioned case. As grounds therefore, Plaintiff states as follows.

 1.    Plaintiff incorporates by reference herein all of the factual allegations made in

       Plaintiff's Application for Preliminary Injunction and Memorandum of Law in Support.

       ECF 46.

 2.    Defendant has continuously engaged in felonious criminal conduct against Plaintiff

       since March of 2017. Specifically, Defendant has committed multiple offenses against

       Plaintiff in violation of Tex. Penal Code § 42.072 (stalking). Additionally, Defendant

       has tortiously interfered with Plaintiff's law practice for well over a year despite

       repeated demands that Defendant cease and desist such conduct. Defendant has claimed

       that he has a First Amendment right to harass Plaintiff and interfere with his law

       practice. Such a claim is patently absurd.

 3.    On July 18, 2018, Plaintiff received the correspondence from Defendant (using his

       "Dean Anderson" alias) that is attached hereto as Exhibit "A" and incorporated by

       reference herein. The correspondence specifically referenced Dr. Darian Hampton, a


MOTION TO SET HEARING                                                                Page 1 of 3
Case 4:18-cv-00247-ALM Document 60 Filed 07/19/18 Page 2 of 3 PageID #: 1210



       new client of Plaintiff.

 3.    This correspondence prompted Plaintiff to access Defendant's BV Files website

       (www.viaviewfiles.net), at which time he was able to locate a post made by a person

       utilizing the alias "The Mad Doxer". A true and correct copy of that post is attached

       hereto as Exhibit "B" and incorporated by reference herein.

 4.    Plaintiff immediately sent this correspondence to Defendant's counsel and discovered,

       less than ninety minutes later, that a copy of the correspondence that he had sent to Mr.

       Dorrell has also been posted on the BV Files website. A true and correct copy of that

       post is attached hereto as Exhibit "C" and incorporated by reference herein.

 5.    Later in the evening and the following morning, Plaintiff received additional harassing

       correspondence from Defendant - through his "Dean Anderson" pseudonym - which is

       attached hereto as         Exhibit "D" and incorporated by reference herein.

 6.    Defendant clearly intends to continue interfering with Plaintiff's law practice during the

       pendency of this lawsuit through the use of his "Dean Anderson" alias and his BV Files

       website. This Court should set an immediate hearing on Plaintiff's Motion for a

       Preliminary Injunction in this cause so as to prohibit Defendant from further damaging

       Plaintiff's law practice.

 7.    Plaintiff is available for a hearing at any time except for the following dates, during

       which he will either be on vacation or in court for other cases: June 23-25, 2018;

       August 9, 2018; August 15, 2018; August 17, 2018, August 22, 2018; September 7,

       2018; October 11-12, 2018; November 9, 2018; November 15-16, 2018; and December

       28, 2018 - January 5, 2019.




MOTION TO SET HEARING                                                                 Page 2 of 3
Case 4:18-cv-00247-ALM Document 60 Filed 07/19/18 Page 3 of 3 PageID #: 1211



 WHEREFORE, premises considered, Plaintiff prays that this Honorable Court enter an order

 setting his Application for Preliminary Injunction for an oral hearing on the merits.

                                                    Respectfully submitted,

                                                   /s/ Jason Lee Van Dyke
                                                   Jason L. Van Dyke
                                                   State Bar No. 24057426
                                                   108 Durango Drive
                                                   Crossroads, TX 76227
                                                   P – (469) 964-5346
                                                   F – (972) 421-1830
                                                   Email: jason@vandykelawfirm.com

                                                   Pro Se Plaintiff

                               CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing was electronically filed on the
CM/ECF System, which will automatically serve a Notice of Electronic Filing on Jeffrey
Dorrell, Attorney for Defendant.

                                                            /s/ Jason Lee Van Dyke
                                                            JASON LEE VAN DYKE




MOTION TO SET HEARING                                                              Page 3 of 3
